               Case 8-17-77725-las                  Doc 34   Filed 03/20/18      Entered 03/20/18 15:25:01



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X
In re:                                                                             Chapter 7
                                                                                   Case No.: 17-77725-las
Mi Kyung Ho

                                           Debtor(s).
---------------------------------------------------------X
STIPULATION AND ORDER EXTENDING TIME TO OBJECT TO THE DEBTOR’S DISCHARGE AND
DISCHARGEABILITY OF ALL OF THE DEBTS AS WELL AS TIME TO OBJECT UNDER BANKRUPTCY CODE
SECTION 707(b)

          WHEREAS, this case was commenced by the debtor(s) filing of a voluntary chapter 7 Petition with this Court on
          December 13, 2017; and
          WHEREAS, Richard L. Stern is the appointed and acting trustee in the debtor(s) case.
          WHEREAS, the trustee has requested, and the Debtor(s) agree(s) to an extension of time in this case, for the trustee
to object to discharge or dischargeability, and/or to dismiss this case under Code Section 707(b).
          NOW, THEREFORE, IT IS HEREBY stipulated, consented to, and agreed that the last day for the Trustee to object to
the debtor’s discharge or dischargeability of any of the debtor’s debts, and the last day to dismiss this case under Bankruptcy
Code Section 707(b), all shall be and hereby is extended through and including May 15, 2018 without prejudice and that the
debtor shall cooperate in all regards with the examination of the trustee and his professionals.

Dated:
                                                              By:____/s/ Richard L. Stern_________
                                                                 Richard L. Stern, Trustee
                                                                 c/o Macco & Stern, LLP
                                                                 2905 Express Drive South suite 109
                                                                 Islandia, NY 11749
                                                                 (631) 549-7900



                                                                 Dated:
                                                                 By: ___/s/ Do Kyung Kim________
                                                                 Attorney for the Debtor
                                                                 Do Kyung Kim, Esq.

SO ORDERED.




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         Dated: March 20, 2018                                                          Louis A. Scarcella
                Central Islip, New York                                          United States Bankruptcy Judge
